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                                          VERDICT FORM

          When answering the following questions and filling out this Verdict Form, please follow
  the directions provided throughout the form and all instructions the Court has given you in its
  char e. Some of the questions contain legal terms that are defined and explained in detail in the
  Jury Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage
  of any le al term that appears in the questions below. Your answer to each question must be
  unanimous.


  QUESTION NO. 1:

  Did any of the Defendants inf inge Plaintiffs copyright in the G.I. Bro Poster?

          Yes            No


  If you answered Yes, please proceed to Question No. 2. If you answered No, please proceed to
  Page 3 and sign and date the verdict form.



  QUESTION NO. 2:

  What were the Defendants gross revenues and deductible expenses attributable to the
  infringement, if any?

  Answer in dollars and cents as to each.

             Gross Revenues                      Deductible Expenses




  Please proceed to Question No. 3.


   QUESTION NO. 3:

  What percentage, if any, of the Defendants profits were attributable to factors other than the
  infringement of Plaintiff s copyright in the G.I. Bro Poster?
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   QUESTION NO. 4:

  Did any Defendant knowingly or intentionally, and with the intent to induce, enable, facilitate, or
  conceal infrin ement, provide or distribute copies or derivatives of Plaintif s G.I. Bro Poster with
  false copyright management information?



          Yes            No


  If you answered Yes, please proceed to Question No. 5. If you answered No, please proceed to
  Page 3 a d sign and date the v rdict form.



   QUESTION NO. 5:

   How many times did the Defendants provide or distribute copies or derivatives of Plaintiff s G.I.
   Bro Poster with false copyright management information?

   Answer with the number of violations, if any.

           Number of Violations




   Please proceed to Page 3 and sign and date the verdict form.




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   Your work is done. Please sign and date the verdict form.


  We, the jury, unanimously gree to the answers to the questions set out above, and return

   them under the instructions of this Court as our verdict in this c se.




  Date:




                                             P ge 3 of 3
